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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

GRACIE F. SCOTT                        )
                                       )



             Plaintiff,                )
                                       )
                                                               CV 416-003
V.                                     )        CIVIL FILE NO.
                                       )



BELK, INC.,                            )
                                       )



             Defendant.                )


                            NOTICE OF REMOVAL

       COMES NOW Defendant BELK, INC. (hereinafter referred to as

"Defendant") in the above-styled action, and within the time prescribed by law,

files this Notice of Removal and respectfully shows the Court as follows:

                                           1.

       Plaintiff filed suit against Defendant in the State Court of Chatham County,

which county is within the Savannah Division of this Court. Said action has been

designated as Civil Action File No. STCV 150 1572 in that Court.

                                           2.

       Defendant shows that said suit was instituted on October 2, 2015 in the State

Court of Chatham County and served upon Defendant on October 12, 2015 via its
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registered agent for service in the State of Georgia, National Registered Agents,

Inc.

                                           3.

         Defendant Belk, Inc. is a corporation organized under the laws of the State

of Delaware, with its principal place of business in North Carolina. Belk, Inc. is

not a citizen of the State of Georgia, and was not a citizen of the State of Georgia

on the date of the filing of the aforesaid civil action and has not been thereafter.

                                           4.

         Plaintiff is a citizen of Hinesville, Liberty County, Georgia. Caee Plaintiffs

Complaint, 11).

                                           5.

         Plaintiff claims damages for negligence resulting from a trip and fall at the

Belk located in Oglethorpe Mall in Savannah Georgia. Plaintiff asserts in part that

Defendant negligently and carelessly maintained its premises in an unsafe,

dangerous and defective manner by permitting abnormal and uneven tile and grout

conditions to exist on the premises. Plaintiff allegedly suffered a dental fracture,

mouth lacerations, neck pain, and injury to her right knee. She seeks to recover

general and special damages, including medical expenses, mental and physical




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pain and suffering, and attorney's fees and expenses of litigation. (Lee Plaintiffs

Complaint, $16-19).



      On December 21, 2015, Plaintiff provided responses to Defendant's written

discovery. In response to Interrogatory Number 31, Plaintiff provided a medical

expense summary, which itemized her medical expenses following the subject

incident and totaled $75,715.32.       Additionally, in response to Interrogatory

Number 36, Plaintiff identified a lost wage claim of approximately $3,800.00. A

copy of Plaintiffs Responses to Defendant's First Continuing Interrogatories,

including the aforementioned medical expense summary, have been attached

hereto and marked as Exhibit "A."

                                          7.

      Now, within thirty (30) days after receipt of Plaintiffs written discovery,

Belk, Inc. removes this matter to this Court pursuant to Title 28 of the United

States Code §1446, which permits a case to be removed if the case stated by initial

pleading is not removable, but Defendant later receives other paper (which

includes written discovery) from which it can be ascertained that the case is one

which has become removable. Defendant now removes this case to federal court

on the basis of diversity jurisdiction provided by Title 28 of the United States Code


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§1441 and §1332, as not more than one year has expired since the case was

commenced.

                                           11.1

      Defendant has attached hereto a copy of the Summons and Complaint,

marked as Exhibit "B" and a copy of Defendant's Answer and Affirmative

Defenses to Plaintiffs Complaint, marked as Exhibit "C."



      Defendant has attached hereto copies of all other process, pleadings and

orders filed in the State Court of Chatham County, such copies being marked as

Exhibit "D."

                                          10.

      Defendant has given written notice of the filing of this Notice of Removal to

the Plaintiff by notifying her attorneys of record, H. Craig Stafford, Esq., Jeffery L.

Arnold, Esq., and Andrew S. Johnson, Esq. of ARNOLD & STAFFORD.

Moreover, Defendant has submitted for filing a written notice with the Clerk of the

State Court of Chatham County, a copy of said notice being marked as "Exhibit E"

and attached hereto.

      WHEREFORE, Defendant prays that this case be removed to the United

States District Court for the Southern District of Georgia, Savannah Division.


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      Respectfully submitted this 6t1 day of January 2016.

                               SWIFT, CURRIE, McGHEE & HIERS, LLP

                               By:    Is/ Pamela Newsome Lee
                                      Pamela Newsom Lee
                                      Georgia State Bar No. 198981

                                      Counsel for Defendant Belk, Inc.

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                          CERTIFICATE OF SERVICE

        I hereby certify that I have this day served a copy of the within and

foregoing NOTICE OF REMOVAL upon all parties to this matter by depositing a

true copy of same via U.S. Mail, proper postage prepaid, addressed to counsel of

record as follows:

                               H. Craig Stafford, Esq.
                               Jeffery L. Arnold, Esq.
                              Andrew S. Johnson, Esq.
                              ARNOLD & STAFFORD
                                Post Office Box 339
                              Hinesville, Georgia 31310

        Respectfully submitted this 6th day of January 2016.

                                 SWIFT, CURRIE, McGHEE & HIERS, LLP

                                 By:    Is/ Pamela Newsome Lee
                                        Pamela Newsom Lee
                                        Georgia State Bar No. 198981

                                        Counsel for Defendant Belk, Inc.

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